          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:01CR48


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
RICHARD DONNELL RUDISILL                  )
                                          )


      THIS MATTER is before the Court on the Defendant’s motion

pursuant to Fed. R. Crim. P. 41(e),1 for return of property he alleges was

wrongfully seized from him at the time of his arrest, filed March 9, 2009.

The Government has filed a response opposing Defendant’s motion.

      Defendant alleges that a “1989 Jaguar automobile [VIN number] was

seized from [him], and subject to forfeiture[,] [a]lso, $2,956.00 was seized

from [him] that was never returned.” Defendant’s Motion, at 1. He states

that of the $2,956.00, only $1,480.00 was returned to him. Id.




     1
        The Court assumes the Defendant is requesting return of property
pursuant to Rule 41(g) (“Motion to Return Property”), rather than Rule
41(e) (“Issuing the Warrant”).


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      Defendant and ten co-Defendants were charged in a superseding bill

of indictment with conspiracy to possess with intent to distribute cocaine

and crack cocaine in violation of 21 U.S.C. §§ 846 and 841(a)(1).

Superseding Bill of Indictment, filed August 6, 2001. The indictment

contained a Forfeiture Notice of property the Government alleged was

derived from and/or used to facilitate the drug conspiracy. Id. at 3. Among

several automobiles listed is the subject 1989 Jaguar. Id. After a jury trial,

the Defendant was found guilty of the charge contained in the indictment.

See Jury Verdict Sheet, filed November 21, 2001. On October 1, 2002,

the undersigned sentenced the Defendant to a term of 360 months

imprisonment. Judgment in a Criminal Case, filed October 16, 2002.

Defendant’s appeals of his conviction and sentence and the denial of his

motion pursuant to 28 U.S.C. § 2255 were unsuccessful. United States v.

Rudisill, 68 F. App’x 454 (4th Cir.), cert. denied, 540 U.S. 997 (2003)

(conviction and sentence); United States v. Rudisill, 224 F. App’x 264

(4th Cir. 2007), cert. denied, 128 S. Ct. 934 (2008) (post-conviction

relief).

      After Defendant’s conviction, the Government filed a motion for a

preliminary order of forfeiture based on the Forfeiture Notice contained in



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the indictment. Motion for Preliminary Order of Forfeiture, filed April

10, 2002. Defendant responded to the Government’s motion, arguing that

the Court should not allow the forfeiture because his attorney was

ineffective for failing to request a jury trial on the forfeiture issue.

Defendant’s Response to Motion for Preliminary Order of Forfeiture,

filed April 12, 2002 (citing United States v. Davis, 177 F. Supp. 2d 470

(E.D. Va. 2001)).

      In compliance with the provisions of Fed. R. Crim. P. 32.2(b), the

Court entered an order on May 22, 2002, overruling the Defendant’s

objections and granting the Government’s motion for a preliminary order of

forfeiture. See Order, filed May 22, 2002, at 2. The Court directed the

United States Attorney to prepare a proposed order for signature. Id.

      The proposed order was never prepared. However, the failure of the

Government to follow the Court’s instructions does not affect the finality of

the specific language used by the Court, i.e., “that the Government’s

motion for a preliminary order of forfeiture is hereby GRANTED.” Id. This

Order was never appealed by the Defendant. Contrary to the Defendant’s

allegation that the Court previously ordered all his property to be returned

to him, no such order appears of record, Defendant has not provided a



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copy of the alleged order, and the Court has no recollection of signing such

an order.

      The Government states that $1,480.00 in U.S. Currency was seized

from the Defendant (not $2,956.00 he claims) and that amount has been

returned to him. See Exhibit A, attached to Government’s Response to

Defendant’s Motion, filed March 24, 2009. The Government also

advises that because the storage fees for the subject Jaguar exceeded its

value, the car was sold by the Marshal’s Service to the owners of Gault’s

Used Cars (where the car was stored while the criminal charges were

pending) for $1,350 on December 12, 2007, and the amount was applied

to accumulated storage fees. Government’s Response, at 4; see also,

Exhibits B and C, attached to id. Therefore, no other funds were seized

from the Defendant and the monies received from sale of the Jaguar were

necessarily applied toward payment of the accrued storage costs. The

Defendant has provided no evidence to the contrary.

      “[T]he actual effect of a preliminary forfeiture order is clearly that of a

final order as to the defendant. A preliminary forfeiture order terminates all

issues presented by the defendant and leaves nothing to be done except

to enforce by execution what has been determined.” United States v.



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Christmas, 126 F.3d 765, 768 (6th Cir. 1997). “Forfeiture is an element of

the sentence imposed following conviction[.]” Libretti v. United States,

516 U.S. 29, 38-39 (1995). The Defendant did not raise this forfeiture

issue on direct appeal or in his subsequent § 2255 motion and appeal. As

a result, the Defendant may not now, at this late date, obtain the relief

sought as no cause for this failure has been shown.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for

returned of property is DENIED.

                                      Signed: April 8, 2009




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